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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF KENTUCKY
                            PADUCAH DIVISION
                          CASE NO. 5:21‐CV‐32‐TBR


KARA PETTERSON                                                            PLAINTIFF

V.

CHRISTIAN COUNTY, KENTUCKY, et al.                                     DEFENDANTS


                            ORDER OF DISMISSAL


      The Court has been informed that a settlement has been reached.
      IT IS ORDERED that said action is DISMISSED from the docket.                  If
settlement is not concluded within 45 days any party may move to have the case
reinstated on the docket.
      All deadlines, telephonic conferences, and the jury trial are vacated/cancelled.




cc: Counsel
                                                November 8, 2021
